        Case
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                18-35926, 12/05/2018,
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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            DEC 5 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
PLANNED PARENTHOOD OF THE                         No.    18-35926
GREAT NORTHWEST AND THE
HAWAIIAN ISLANDS,                                 D.C. No. 1:18-cv-00319-DCN
                                                  District of Idaho,
                 Plaintiff-Appellant,             Boise

 v.                                               ORDER

LAWRENCE GARTH WASDEN, in his
official capacity as the Idaho Attorney
General; et al.,

                 Defendants-Appellees.

Before: LEAVY, BYBEE, and HURWITZ, Circuit Judges.

      Appellant’s motion to seal the declaration of Dr. A, as well as the motion to

seal, is granted in part, subject to the public filing of a redacted declaration and a

redacted motion to seal within 21 days after the date of this order (Docket Entry

No. 7). See Interim 9th Cir. R. 27-13. The redacted declaration shall omit only

those portions of the declaration that contain details about Dr. A’s education,

professional background, and medical specialty—specifically paragraph 2;

paragraph 3; paragraph 4; paragraph 5; the first sentence of paragraph 22; the first

sentence of paragraph 40; the first two sentences of paragraph 41; the first sentence

of paragraph 43; and paragraph 48. The redacted motion to seal shall omit only

those portions of the motion that reference details about Dr. A’s education,

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professional background, and medical specialty. The Clerk shall maintain the

unredacted declaration and unredacted motion under seal, and if appellant submits

redacted versions of these documents in accordance with this order, the Clerk shall

file the redacted versions publicly and the unredacted versions under seal.

      Appellant’s urgent motion for an injunction pending appeal is denied

(Docket Entry No. 8). See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

22-23 (2008).

      The briefing schedule established previously remains in effect.



      Hurwitz, Circuit Judge, concurring in part and dissenting in part:

      I concur with the disposition of the motion to seal. I respectfully dissent,

however, from the denial of the motion for an injunction pending appeal. The district

court’s order concerning the application for preliminary injunction correctly

describes the primary question as whether plaintiffs “are likely to succeed on the

merits.” The district court then concludes, as to plaintiffs’ vagueness attack on the

Idaho statutory scheme, that “this prong of the inquiry is met.”

      Given the district court’s conclusion as to likelihood of success on the merits

(with which I agree), an injunction pending appeal should be granted. The

statutory scheme subjects those who fail to file required reports to potential civil

penalties and professional sanctions, including loss of licensure. Idaho Code Ann.


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§ 39-9506(3) & (4). Health care providers thus face genuine harm from the

statute’s enforcement pendent lite. See Tucson Med. Woman’s Clinic v. Eden, 379

F.3d 531, 554 (9th Cir. 2004) (“Given the potential for harassment of abortion

providers, it is particularly important that enforcement of any unconstitutionally

vague provisions of the scheme be enjoined.”). And, any countervailing state

interest in enforcement pending appeal is small, as the state seeks to collect

information only to compile an annual report, Idaho Code Ann. § 39-9504(4), and

to aggregate data for the federal Centers for Disease Control and Prevention,

id. § 39-9504(5).




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